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  6 Attorneys for Plaintiff PCR Distributing, Co.

  7
                             UNITED STATES DISTRICT COURT
  8
  9                         CENTRAL DISTRICT OF CALIFORNIA

 10

 11 PCR DISTRIBUTING CO.,                             Case No. 2:24-cv-07453-CV-AJR
      vs.
 12                                                   DECLARATION OF MARTIN
 13                  Plaintiff,                       PRITIKIN IN SUPPORT OF
                                                      PLAINTIFF’S OPPOSITION TO
 14 vs.                                               DEFENDANTS’ MOTION TO
 15                                                   DISMISS AND STRIKE FIRST
      JOHN DOES 1 – 10, d/b/a                         AMENDED COMPLAINT
 16 NHENTAI.NET and NHENTAI.TO,

 17
                     Defendants.                      Date: March 28, 2025
 18                                                   Time: 1:30 p.m.
 19                                                   Judge: Hon. Cynthia Valenzuela
                                                      Courtroom: 5D
 20                                                   Place: U. S. Courthouse
 21                                                          350 West First Street
                                                             Los Angeles, California 90012
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            PRITIKIN DECL I/S/O OPPOSITION TO DEFENDANT’S MOTION TO DISMISS AND STRIKE FAC
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  1                       DECLARATION OF MARTIN PRITIKIN
  2        1.     I, Martin Pritikin, am of counsel for Bjorgum Law, PC, attorneys for the
  3 Plaintiff in this action, I am over the age of eighteen and I make this declaration based

  4 on personal knowledge. I make this declaration, along with the attached exhibit, in

  5 support of Plaintiff’s Opposition to Defendants’ Motion to Dismiss or Strike the First

  6 Amended Complaint (“Motion”).

  7        2.     On February 25, 2025, after reviewing Defendants’ Motion and the claim
  8 therein that no San Diego County fictitious business name filing could be located
  9 using either the document number referenced in the First Amended Complaint

 10 (“FAC”) or the names PCR or JAST USA, I logged onto the San Diego County

 11 Recorder Office website’s Fictitious Business Name (“FBN”) search page

 12 (https://arcc-acclaim.sdcounty.ca.gov/FBN). I entered “JAST USA” into the “Search

 13 By Name” tab. I found the applicable record in less than 30 seconds, and paid to have

 14 a certified copy mailed to me. Attached hereto as Exhibit A is a true and correct copy

 15 of the certified FBN filing that was sent to me as a result, reflecting that JAST USA

 16 was registered as a dba of PCR on July 31, 2019.

 17        3.     Using the “Search By Name” tab, I also ran searches using the terms”
 18 (as opposed to “JAST USA”), “PCR Distributing Co.” and “PCR.” These searches
 19 revealed the same 2019 FBN document referenced above and attached as Exhibit A,

 20 as well an FBN filing from 2015 showing that JAST USA had previously been

 21 registered as a fictitious business name of PCR Distributing Co. in 2015, along with

 22 another filing renewing PCR’s FBN in JAST USA in July 2024. True and correct

 23 certified copies of the 2015 and 2024 FBN filings that I paid to have mailed to me are

 24 attached hereto as Exhibit B.

 25        4.     The 2019 FBN filing (Exhibit A) had an associated FBN number of
 26 2019-9018807. This was not the same number that was referenced in Paragraph 24 of

 27 the FAC, which was 2019-9513905. The FBN filing attached as Exhibit A is,

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  1 however, associated with a “Proof of Publication” (POP) filing number of 2019-

  2 9513905, which is the same number referenced in Paragraph 24 of the FAC. I paid to

  3 have a certified copy of the associated POP filing mailed to me. Attached hereto as

  4 Exhibit C is a true and correct certified copy of the associated POP filing I received

  5 as a result. It references the FBN number for Exhibit A, 2019-9018807.

  6         5.    Attached hereto as Exhibit D is a true and correct copy of Page 8 of the
  7 registration copy of “Sexual Healing,” one of the works that the FAC alleges was

  8 infringed by Defendants. Among the dialogue featured on this page is the sentence
  9 “Kumokawa, did you bring your second-semester course selection printout?”

 10         6.    On February 28, 2025, I visited the URL, https://nhentai.net/g/543331/,
 11 which is referenced in Exhibit 3 to the FAC (Dkt. 40-3) as one of the galleries

 12 containing infringing material. Attached hereto as Exhibit E is a true and correct copy

 13 of a partial screenshot that appeared on the page displayed. (It has been cropped and

 14 redacted to avoid the display of explicit images.) To the extent that the listed upload

 15 date can be credited, it lists an upload date of “2 months, 2 weeks ago,” i.e.,

 16 approximately mid-December 2024—four months after the original complaint was

 17 filed. (Dkt. 1.)

 18         7.    In their Motion, Defendants asserted that, contrary to the assertion in the
 19 FAC and Exhibit 3 thereto, the URL https://nhentai.net/g/543331/ “does not actually

 20 link to material that appears to be called or relate to “Sexual Healing.” (Dkt. 47 at

 21 11:10-14.) I compared the thumbnails of the comic book pages that appear at that

 22 URL to the registration copy of “Sexual Healing” (which is actually a multi-volume

 23 work)    that was submitted in connection with the copyright registration
 24 TXu002435667 in Exhibit 3 to the FAC. Each of the pages featured at that URL

 25 mirror pages from the registration copy, including numerous English translations that

 26 are identical or substantially similar to that featured in the registration copy. To

 27 provide just one example, compare the comic book page found directly at the URL

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  1 https://nhentai.net/g/543331/28 (a subdirectory of https://nhentai.net/g/543331/), a

  2 true and correct copy of a screenshot of which is attached hereto as Exhibit F; with

  3 page 204 from the registration copy of “Sexual Healing,” a true and correct copy of

  4 which is attached hereto as Exhibit G.

  5

  6        I declare under penalty of perjury under the laws of the United States of
  7 America and under the laws of the State of California that the foregoing is true and

  8 correct and that if called upon to testify I could and would testify competently
  9 thereto.

 10        Executed this 7th day of March 2025 at Los Angeles, California
 11
                                         By: /s/ Martin Pritikin
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                                         Martin Pritikin
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         PRITIKIN DECL I/S/O OPPOSITION TO DEFENDANT’S MOTION TO DISMISS AND STRIKE FAC
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  1                            CERTIFICATE OF SERVICE
  2        I hereby certify that on March 7, 2025, I electronically filed the foregoing
  3 document with the Clerk of the Court using the CM/ECF system which sent

  4 notification of such filing to the following:

  5

  6
           John T. Wilson
           Jennifer M. Rynell
  7        eservice@wwrlegal.com
  8        WILSON WHITAKER RYNELL
           Wilson Legal Group P.C.
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 10        Dallas, Texas 75248

 11        Glenn T. Litwak
 12        glenn@glennlitwak.com
           LAW OFFICES OF GLENN T. LITWAK
 13        201 Santa Monica Boulevard, Suite 300
 14        Santa Monica, California 90401

 15

 16                                       By:       /s/ Eric Bjorgum_______
                                                      A. Eric Bjorgum
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         PRITIKIN DECL I/S/O OPPOSITION TO DEFENDANT’S MOTION TO DISMISS AND STRIKE FAC
